Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 1 of 25 Page ID #:103
Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 2 of 25 Page ID #:104




                                  PRESS RELEASE

  New York State                                         Contact:
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  Hon. Lawrence K. Marks
  Chief Administrative Judge                             www.nycourts.gov/press

                                                         Date: November 8, 2017


           Chief Judge DiFiore Announces Implementation of New Measure
            Aimed at Enhancing the Delivery of Justice in Criminal Cases

  New York – To help prevent wrongful convictions and enhance the delivery of justice in
  criminal matters, Chief Judge Janet DiFiore today announced the adoption of new rules that will
  require judges presiding over criminal trials to issue an order notifying and reminding
  prosecutors and defense attorneys appearing before them of their professional responsibilities.
  While numerous state and federal judges have individually issued such orders, the New York
  State court system is the nation’s first jurisdiction to implement such a measure on a statewide
  level.
           Trial court judges in applicable cases will issue an order to the prosecutor responsible for
  the case to timely disclose exculpatory evidence favorable to the accused − called Brady material
  (referring to the landmark U.S. Supreme Court decision Brady v. Maryland, that in criminal
  cases prosecutors must disclose all evidence that could be materially favorable to the defense) −
  as required by the federal and state constitutions, statutory and ethical rules.
           This order makes specific reference to the types of material that could be required to be
  disclosed, including information that impeaches the credibility of witnesses, exculpates or
  reduces the degree of the defense, or mitigates the degree of the defendant’s culpability or
  punishment.
           Additionally, trial judges in criminal cases will be required to issue a directive focusing
  on the defense counsel’s obligations to provide constitutionally effective representation in the
  case, such as keeping the client informed about the case, providing reasonable advice regarding
Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 3 of 25 Page ID #:105


  any plea offers, and performing a reasonable investigation of both the facts and law pertinent to
  the case. A copy of such order will be given to the defendant in the case.
         While the professional responsibilities of prosecutors and defense attorneys are regulated
  by law, the new order, which does not in any way change existing law, provides a mechanism by
  which to educate inexperienced prosecutors and defense attorneys − and remind experienced
  ones − about their constitutional and ethical duties.
         Both directives are modeled on the recommendations of the New York State Justice Task
  Force, among the first permanent task forces to address wrongful convictions and whose work
  has generated significant reforms.
         Recently, the Justice Task Force concluded an extensive study, producing a report
  centered on serious concerns that undermine the fairness and reliability of the criminal justice
  process, namely Brady violations by prosecutors and ineffective representation by defense
  attorneys. In its report, the task force offered a series of recommendations to address these issues.
  Foremost was a call for judges in criminal cases to have a greater oversight role, including that
  judges in applicable criminal cases issue standing orders informing the prosecution and defense
  of their respective obligations.
         As noted by the Justice Task Force in its report, an order directed to the prosecution
  “would create a culture of disclosure, educate inexperienced prosecutors, serve as a reminder for
  more experienced prosecutors regarding their disclosure obligations, and ensure that judges have
  an ability to enforce compliance with disclosure requirements.” While permitting a court to
  impose sanctions or take other appropriate action for deliberate violations, the order’s primary
  goal is preventative. In proposing a directive aimed at defense counsel, the task force’s objective
  was to devise a useful, detailed reminder to defense attorneys regarding their most fundamental
  duties to provide constitutionally effective legal representation in the case.
         The Justice Task Force drafted model directives for the courts to use, with these
  proposals submitted for public comment this past spring. Following the comment period, Chief
  Administrative Judge Lawrence K. Marks, with the approval and consent of Chief Judge DiFiore
  and the Administrative Board of the Courts, issued an Administrative Order, amending the
  uniform rules for courts exercising criminal jurisdiction to require judges in applicable criminal
  actions to issue an order notifying both the prosecution and defense of their legal and ethical
  obligations. The order is to be issued at the early stages of the case. While the Chief Judge’s
  Administrative Order does not mandate the issuance of any specific directive, a model order has
  been approved for use.
          “This newly adopted measure will go a long way to help prevent and remedy systemic
  errors that contribute to wrongful convictions, acting as a consistent reminder to prosecutors and
Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 4 of 25 Page ID #:106


  defense attorneys of their respective – and critically important − roles in the fair administration
  of justice. I commend the Justice Task Force for its thoughtful recommendations pertaining to
  attorney responsibility in criminal cases, including the proposed directives, and for its steadfast
  commitment to due process and the eradication of wrongful convictions of the innocent in New
  York State,” said Chief Judge DiFiore, who in her former role as Westchester County District
  Attorney served as a Justice Task Force co-chair.
         “The statewide application of these directives will serve to promote the quality of justice
  in New York, increasing judges’ ability to ensure that prosecutors and criminal defense attorneys
  appearing before them have a clear, thorough understanding of their legal and ethical obligations.
  Along with the Justice Task Force, whose outstanding efforts have led us to this historic point, I
  am appreciative to all those who provided valuable input on the proposed orders during the
  public comment period,” said Chief Administrative Judge Marks.
         Copies of the Administrative Order and approved model order, along with the New York
  Justice Task Force’s Report on Attorney Responsibility in Criminal Cases, are attached.
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Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 5 of 25 Page ID #:107




                     New York State Justice Task Force




       Report on Attorney Responsibility
               in Criminal Cases

                               February   2017
Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 6 of 25 Page ID #:108




         A component of attorney respons ibility is attorney discipline, which has been addressed
  in New York State in various capacities by a number of different entities in recent years. ln 2009.
  for example, the New York State Bar Association's Task Force on Wrongful Convictions
  published a report that addressed one component of attorney discipline in the criminal context:
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  prosecutorial misconduct. Most recently. fon:ner Chief Judge Lippman created the Commission
  on Statewide Attorney Discipline. which conducted a comprehensive review of New York's
  attorney disciplinary system. The Commission issued a report in September 2015 offering
  recommendations to enhance the efficiency and effectiveness of the attorney discipline process. 2

          Though the topic of anorncy discipline has been studied. the Task Force recognized that
  there continues to be a dearth of statistics and raw data on the prevalence of attorney misconduct
  in the criminal context and on the potential contribution of such misconduct to wrongful
  convicrions. 3 Nonetheless. the Task Force discussed the fact that there may be a public
  perception that attorney misconduct- particularly prosecutorial misconduct- is. in fact, a
  significant contributor to wrongful convictions.

          Beginning in October 2015, the Task Force hosted presentations from academics.
  representatives of the Appellate Division of the Supreme Court. and representatives of the
  Commission on Statewide Attorney Discipline on the subject of attorney responsibility and
  discipline in the criminal context. In December 2015, the Task Force crcaLed a subcommittee to
  examine the issue in greater depth. The subcommittee discussed a number of possible refonns.
  taking into account existing reports on attorney misconduct. including the Commission· s
  September 2015 report. proposed legislation, and proposals from the Legal Aid Society. the
  lnnocence Project. the District Attorneys· Association of the State of New York ("DAASNY'J.
  individual New York State judges, and various other entities and individuals. The subcommittee
  also reviewed case law, news articles. and commentary for additional context on the issue.
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          After four full Task Force meetings, six subcommittee meetings, 5 and a number of
  additional meetings of a smaller subgroup. the 2 l voting members of the Task Force achieved
  consensus on the majority of the recommendations considered. in many cases reaching

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   Ne,.\ York State Commission on Statewide Attorney Discipline. "Enhancing Fairness rind Cons1s1cncy[.) Fostenng EfficienC)
 and Transparenc) :· September 20 I 5. available at https:/1www.nycouns.gowanorneys/disc1pline/ (herei.nafter. "Commission on
 Statewide Attorney Discipline Repon'").
 : As a result of those recommendauons. the four Depanmems of the New York State Supreme Coun. Appellate Division. adopted
 nC\\. unitonn. statewide rules 10 govern Ne,1 York's attomey disciplinary process. which f)rov1de for a harmonized approach 10
 the 111vest1gauon. adjudication. and post-proceedmg administration of attorney disctplmary matters. See Pan 1240 of the Rules of
 the Appellate D1v1sion (22 NYCRR Pan 1240) (e!Tec11vc July 20 16).
 ' While the Commission on Statewide Attorney Discipline did not focus specifically on criminal mal1crs, it did briefly address the
 issue of"prosecutorial misconduct."" including the possibility of having a separa1e disciplinary mechanism specifically dedicated
 10 such mauers. See Commission on Statewide Attorney Discipline Report, at 75. Uhimot,e ly. the Commission recommended
 that ;udic1al determina11ons of prosecutorial misconduct be promptly referred 10 disciplinary conunittees and that each
 Dcpanment should track and record such matters .. with a view t0ward generating annua l s1::111stical reports."' Id. The
 Comm1ss1on also noted that a distmct1on should be made between good-faith error and an~· "'unctl11cal or mahc1ous·· behavior. Id.
 "The Task Force meetings occurred on October 19. 2015, November 13. 20 t 5. October 21. 2016. and November 4. 2016.
 s 111e subcornmmee meetings occurred on December 14. 2015. January 28. 2016. April 7. 20 I 6. June 13. 201 o. June 21.2016.
 and July 16. 2016.

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Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 7 of 25 Page ID #:109




 unanimous or near-unanimous agreement. The diverse perspectives and relevant backgrounds of
 the subgroup, subcommittee, and T ask Force members proved critical to these recommendations.

           As discussed in greater detai l below, and as enumerated at Appendix A, the Task Force
 agreed on a series of recommendations concerning: (I) use of the Lenn "misconduct." (2)
 reporting of attorney "misconduct," (3) the grievance process, (4) data collection and statistics.
 (5) the role of the judiciary in making referrals for disciplinary review, and (6) training. In
 addition, the Task Force recognized that prosecutorial error in the Brady context. as well as
 failure of defense counsel to adhere to their professional obligations. has the potential to
 contribute to incidents of wrongful convictions. After a great deal of discussion. the Task Force
 agreed to the groundbreaking recommendation that all New York State trial court judges should
 issue an order at the outset of criminal cases regarding the obligation of prosecutors to make
 timely disclosures of infonnarion favorable to the defense as required by Brady r Maryland, 373
 U S 83 (! 963). Giglio \' Unized States. 405 US 150 (1972), Peopl~ ,, Geasle11. 54 NY2d 5 I 0
 (1 981 ). and their progeny under the United States and cw York State constitutions. and under
 Rule 3.8(b) of the New York Rules of Professional Conduct. The Task Force similarly
 recommended that all New York State trial counjudges issue an order directing criminal defense
 counsel to comply with the defendant's statutory notice obligations and help ensure
 constitutionally effective representation.

 Recommendations Relating to Attornev Responsibilitv in C riminal Cases

 I.      Use of the Term Misconduct

          At the outset. the Task Force spent significant time discussing its view that the tenns
 "misconduct'' and. in particular...prosecutorial misconduct.'' arc 100 often used without sufficient
 regard to their meaning and connolations. The overbroad use of the term '·misconduct'· can
 create the perception that any time an error is made. regardless of whether that error was
 intentional or a mistake made in good faith. there has been malfeasance. Accordingly. the Task
 Force recommended that when discussing attorney misconduct. courts. the press. and academics
 be conscious of the distinction between good-faith error and intentional wrongdoing. In
 particular. the Task Force recommended that the tenns "prosecutorial misconduct'' and "defense
 counsel misconduct'· be reserved for instances where a prosecutor or defense attorney engages in
 conduct- including a pattern or practice of behavior-that violates a law. ethical rule. or
 standard. either with the intent to do so or with a conscious disregard of doing so. and where
 there is no good-faith reason for having done so. ln a simi lar vein. trial and appellate courts,
 wherever possible. should distinguish between good-faith error and prosecutorial or defense
 counsel misconduct in written opinions and provide clear guidance regarding the specific
 attorney conduct that has been deemed improper, in order to enable practitioners to avoid such
 conduct in the furure.



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Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 8 of 25 Page ID #:110




  II.    Encouraging Reporting of Attorney Misconduct

         The Task Force identified an apparent perception in the literature and in the media that
  misconduct- particularly by prosecutors- is underreported. ln order to address this perception.
  the Task Force discussed ways to encourage both practitioners and judges to report potential
  misconduct ·with greater frequency, and ultimately, made recommendations to achieve that end.

           Currently. New York State Rule of Professional Conduct 8.3(a) only requires a lawyer to
  report misconduct where that lawyer "knows that another lawyer has committed a violation of
  the Rules of Professional Conduct that raises a substantial question as to that lawyer's honesty.
  trustworthiness or fitness as a lawyer .. .... (emphasis added). The Task Force discussed that
  many attorneys use this standard as a th reshold, only reporting potential misconduct if they
  firmly "know'· that there has been a violation. This has the potential to result in underreponing.
  as it is difficult to "know" for certain that a v iolation has occurred. Instead of basing the
  decision regarding whether 10 repon solely on R ule 8.3(a). the Task Force recommended that
  lawyers (including District Attorneys· offices and institutional defense providers) and judges be
  encouraged 10 report misconduct. regardless of whether it is required. in situations where a
  lawyer or judge knows or is aware of a hie:h orobabil itv based on credible evidence that another
  lawyer has engaged in misconduct.

          Further. tO the extent that they have not already done so. it is recommended that District
 Attorneys· offices and institutional defense providers develop clear. written internal procedures
 regarding how allegations of error and misconduct against lawyers on their respective staffs will
 be processed and reviewed. Moreover. these institutions should develop such procedures
 explaining how corrective actions (whether individual or office-wide ). if appropriate. will be
 implemented. The Task Force also recommended that Disrrict Attorneys' offices and
 instirurional defense providers maintain imernal procedures regarding when to refer or repon
 misconduct (whether that of their own lawyers or other lawyers) to l11e appropriate disciplinary
 authorities. District Attorneys · offices and institutional defense providers also are encouraged to
 make these written procedures publicly available.

        Finally. the Task Force beheves that it is important that members of the public
 understand the role of Grievance Comm ittees and how 10 repon misconduct. The Task Force
 therefore recommended that Grievance Committees disseminate i11 formation to tbe public
 explaining their function and practice. and the procedures for filing a complaint.

 HI.     Grievance Process

         A question that has been the subject of much discussion and study. including by the
 Commission on Statewide Attorney Discipline. is whether there should be a separate body (either
 within or apart from the established Grievance Committees) speciJically designated to consider
 allegations of prosecutorial or defense counsel misconduct. Proponents of a separate body argue
 that investigating potential misconduct in the criminal context requires specialized knowledge
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Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 9 of 25 Page ID #:111




 tha1 the current Grievance Committees lack. However, others believe that a separate body is
 unnecessary and that it would be more efficient and achievable to make improvements within the
 already-established grievance process. The Task Force ultimatel y agreed with the latter view,
 determining that the existing Grievance Committees should take certain steps Lo ensure that they
 are equipped to handle criminal justice matters. 6

           In particular. the Task Force recommended that Grievance Committees include active
 practitioners from both the prosecution and defense bars who have substantial experience and
 expenise in the criminal justice system. Moreover. all Grievance Committee members should be
 provided with specialized rraining on the standards relating to criminal matters. lt is also
 important that investigations be undertaken where a finding of attorney misconduct has been
 made in a court decision. Such findings may include prosccurorial misconduct or ineffective
 assistance of counsel. Accordingly. to the extent that they arc nor curren11y doing so, the
 Grievance Committees should proactively review available court decisions where such a finding
 has been made. Additional dedicated funding and staff should be aluocatcd to undenake this
 effon as needed.

 IV.       Data Collection and Statistics

         As indicated. there currently is a public perception that misconduct (particularly
 prosecutorial misconduct) is prevalent in the criminal justice system and that responsible
 attorneys are not being appropriately disciplined. However, there is a dearth of statistics in
 support of such propositions. Recognizing the work already being done by the Office of Court
 Administration and the Grievance Committees ro collect data and statistics about attorney
 discipline generally. the Task Force made recommendations regarding data collection in the
 criminal context that would fit within and improve upon the existing framework.

        First. it is important that the data collected by the Office of Coun Administration and
 Grievance Comrninees include details that allow prosecurors. defense lawyers. and the public to
 better understand the nature of the matters being reported and whether there arc discemable
 trends that should be addressed through rraining or otherwise. This data should include the rype
 (e.g., prosecutorial or defense counsel misconduct), nature (e.g .. discovery-related). and number
 of complaints received and reviewed. and resulting determination. if any. Data should be
 aggregated and analyzed, and statistics should be published.

           Further. the Grievance Committees should publish annual reports that aggregate data
 about the number of grievances filed against prosecutors and criminal defense attorneys and the
 outcomes of those allegations. These reports should provide information about the types of
 allegations that have been substantiated and should include recommendations. where appropriate.
 for new or additional training, supervision. or practices based on the Grievance Committees·
 review of these matters.

 • See supra note:!.

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Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 10 of 25 Page ID #:112




           The Task Force also discussed how to ensure that DistTict Attorneys' offices and
  institutional defense providers are made aware when someone on their staff has been referred to
  the Grievance Committee for potential misconduct. ln considering this issue. Task Force
  members determined that it was important to distinguish between requiring notification of an
  allegation (which may be frivolous or unsubstantiated) and requiring notification of actual
  Grievance Committee investigations. To this end, the Task Force recommended that, to the
  extent that they do not already do so, District Attorneys' offices and institutional defense
  providers require staff to notify their supervisors when they become aware that a Grievance
  Committee has commenced an investigation into their conduct. Staff should also notify their
  supervisors when they become aware that a Grievance Commjttee has made a determination
  following an investigation.

  V.      Role of Judiciary in Making Referrals

          As discussed. the Task Force focused on the perception that attorney misconduct is
  underreponed. Recognizing that the judiciary can play an important role in the referral of
  prosecutors or criminal defense lawyers for disciplinary review. the Task Force recommended
  that judges receive training on the standards and processes for referring attorneys for disciplinary
  review. Further, judges should be encouraged to promptly refer 10 the appropriate Grievance
  Committee all matters in which a judicial find ing of prosecutorial or criminal defense counsel
  misconduct has been made.

  VI.     Training

          The Task Force concluded that education and training are fundamental to achieving
  compliance with applicable rules and standards. To the extent that they do not already do so.
  prosecutors and institutional defense provider attorneys should receive training. both at the outset
  of employment and periodically thereafter, with respect to their ethical and other obligations.
  The content of these training programs shouJd be updated as needed to reflect recent case law,
  ethical opinions. new technology and research, as well as to address any areas of needed
  improvement identified by internal supervision, courts, or the Grievance Committees. The New
  York Prosecutors Training Institute ("NYPTI") should receive and review any report issued by
  the Grievance Committees and incorporate the recommendations into NYPTI's various
  educational programs and statewide bulletins. Furthermore, solo practitioners should be given
  the opportunity to receive similar training through free Continuing Legal Education ("CLE")
  courses.

          District Attorneys' offices and instinnional defense providers should also work together
  to foster a culture of openness, transparency, and shared learning. They should meet on a regular
  basis to discuss issues and concerns regarding the Rules of Professional Conduct, best practices
  on difficult practice points, lessons learned from internal and external allegations/investigations.


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Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 11 of 25 Page ID #:113




  and when referrals should be made. In add ition. offices should be encouraged to share their
  internal protocols with each other.

          Finally. the Grievance Committees should meet periodically with representatives of the
  local prosecution and the criminal defense bar to provide an overview of the types of allegations
  they arc receiving and alert these representatives to areas of law or practice where additional
  training or supervision is needed.

  V B.   Order R egarding Disclosure Obligations for Prosecutors

         Building from its recommen dations regarding education an d training. the Task Force also
  considered whether it would be helpful for trial courts to issue a stan ding order in criminal cases
  regarding the prosecution's obligation to make timely disclosures of favorable information to the
  defense pursuant to federa l and state constitutional and ethical mies. As noted. Brady violations
  can lead 10 wrongful convictions. T he Task Force has discussed this link between Brady
  violauons and wrongful convictions in the past. including in its July 2014 Report on
  Recommendations Regarding Criminal Discovery Reform. That report noted that additional
  recommendations relating to Brady, including ,vitb respect to the training of prosecutors. should
  be considered.

           To this end. Task Force members generally agreed that a fom1 document issued by trial
  courts regarding prosecutors' disclosure obligations would serve as a useful educational tool;
  however. there was significant debate regarding whether such document should be framed as an
  order or instead as a notice or reminder. Proponents of an order contended that an order would
  create a culture of disclosure. educate inexperienced prosecutors. serve as a reminder for more
  experienced prosecurors regarding their disclosure obligations. and ensure that judges have an
  ability to enforce compl iance with disclosure requirements. Proponents of a nobce or reminder
  (rather than an order) expressed concern that adopting an order had the potential 10 criminalize
  disclosure mistakes by prosecutors and undermine the existing anomey disciplinary strucrure.

          Ultimately. the Task Force recommended that couns issue an order directing the
  prosecuting authority to disclose all covered materials and that such order should be directed 10
  the District Anorney and the Assistant responsible for the case. The order should be issued by
  tdal courts upon defendant's demand at arraignment on an indictment. prosecutor's information.
  information. or simplified information (or. where either the People or counsel for the defendant
  is not present at the arraignment. at the next scheduled court date with counsel present).

          The Task Force drafted a model order for use by trial courts, attached hereto as Appendix
  B. This model contains certain key features that the Task Force agreed are necessary to ensure
  both that the order serves an educational p urpose and that it encourages a culture of compliance.
  as rntcndcd. Its key provisions include the following:



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Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 12 of 25 Page ID #:114




                 The order references three broad categories of information favorable to the defense
                 ( exculpatory, impeaching, and affecting suppression) . It cites to the prosecutor's
                 constitutional obligations under Brady v Maryland. 373 US 83 (1963), Giglio v
                 United Scates, 405 US 150 (1972). People v. Geaslen. 541\TY2d 510 (1981), and their
                 progeny under the United States and New York State constitutions, and to the
                 prosecutor's ethical obligations under Rule 3.8(b) of the New York State Rules of
                 Professional Conduct.


                 There is a specific reference to certain types of materials or information that could be
                 required to be disclosed, including: (1) relevant benefits. promises, or inducements to
                 a witness in connection with the w itness's tesrimony or other cooperation in the case
                 (which may come from law enforcement officials. law enforcement victims services
                 agencies, or the prosecutor): (2) prior inconsistent statements and uncharged criminal
                 conduct and convictions; and (3) a witness's mental or physical illness or substance
                 abuse.


                 With respect to the timing of disclosure, the order states that the prosecutor is
                 obligated to timely disclose information in accordance w ith the United States and
                 New York State constitutions, as well as CPL article 240 . However, in order to
                 encourage early disclosure and provide some guidance as to reasonableness in this
                 area, the order contains a statement that disclosure is presumptively timely if the
                 prosecutor shall have completed it no later than 30 days before commencement of a
                 trial in a felony case and 15 days before commencement of a trial in a misdemeanor
                 case.


                 Finally. in furtherance of the intent that this order serve an educational purpose and
                 not be construed as a means of sanctioning prosecutors for good-faith error. the order
                 contains a statement that only willful and deliberate conduct will constitute a
                 violation of the order or permit personal sanctions against a prosecut0r.;


  VIII. Order Regarding Obligations for Defense Attorneys

         The Task Force also recognized that the failure of defense counsel to adhere to their
  professional obligations (such as the duty to provide effective assistance of counsel) can
  contribute to wrongful convictions. As a result, the Task Force recommended that courrs adopt
  an order to be issued by the trial court on every criminal case. directing defense counsel to
  comply with the defendant's statutory notice obligations and seeking to ensure constitutionally

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    There was leng1hy discussion regarding whether the order should incorporate a m:iterialiry threshold, whereby either the
  prosecutmg authority would be required to disclose only material information favorable to the defendant or only failures 10
  disclose matenal information would permit sanctions. Ultimately. the Task Force determined ihat materiality should not be
  referenced m the order. but provided that only willful and deliberate conducr will constitute a violation offhe order or pennit
  personal sancuons against a prosecutor.
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Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 13 of 25 Page ID #:115




  effective representation. This order should be directed to the firm or institutional defender (and
  also to the individual attorney responsible for the case at a firm or institutional defender). For
  non-institutional providers, it should be directed to the individual defense counsel. The
  defendant should be provided with a copy of the order. A model order recommended by the
  Task Force is attached hereto as Appendix C.




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Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 14 of 25 Page ID #:116




   Appendix A

   Summarv of Recommendations Regarding Attomev Responsibiliiv in Criminal Cases

   l        Use of the Term Miscon d uct

        I. Courts. the press. and academics should be encouraged to be conscious of the distinction
           between good-faith error and intentional wrongdoing when discussing misconduct.

           The tenns '·prosecutorial mjsconducr·· or "defense counsel misconduct.. should be
           reserved for instances where a prosecutor or defense attorney engages in conducL.
           including a pattern or practice of behavior. that violates a law. ethical rule. or standard.
           either with the intent to do so or with a conscious disregard of the same, and there is no
           good-faith reason for having done so.

        3. Trial and appellaLe courts should be encouraged to. wherever possible. distinguish
           berween good-faith error and prosecutorial or defense counsel misconduct in wrinen
           opinions and to provide clear guidance regarding the specific attorney conduct that has
           been deemed improper to enable practitioners to avoid such conduct in the future.

  II.      Encourage Report ing of Attorney Misconduct

        1. Lawyers (including District Attorneys' offices and institutional defense providers) and
           judges should be encouraged to report misconduct. regardless of whether it is required. in
           situations where a lawyer or judge knows or is aware of a high probability based on
           credible evidence that another lawyer has engaged in misconduct.

        2. Grievance Comminees should disseminate infonnation to the public about what they do
           and ho\.v to file a complaint.

        3. To the extent that they do no1 already do so. District Attorneys' offices and insLitutional
           defense providers should (i) develop clear written internal procedures regarding ho"'
           allegations of error and misconduct against internal lawyers will be processed and
           reviewed. and (i i) based on their review finding, take corrective actions. if appropria1c,
           both on an individual and office-wide level.

               a. District Attorneys· offices and insrinnional defense providers should develop
                  internal procedures regarding how allegations of error and misconduct against
                  external lawyers wi II be processed and reviewed.

               b. District Attorneys· offices and institutional defense providers should develop
                  internal procedures regarding when to refer/report misconduct of internal or
                  exrernal lawyers to the appropriate ilisciplinary authorities.

               c. District Attorneys· offices and institutional defense providers should be
                  encouraged to make public finalized internal written procedures.



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Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 15 of 25 Page ID #:117




  Ill.      Grievance Process

         l. The Grievance Committees should include active practitioners from both the prosecution
            and defense bars who have substantial experience and expertise in the criminal justice
            system to address allegations of attorney misconduct filed against prosecutors and
            defense attorneys.

         2. Although no change should be made to the existing Grievance Committee structure,
            specialized training should be provided to existing Grievance Committee members on the
            standards relating to criminal matters.

         3. To the extent that it does not already do so, the entity tasked with addressing grievances
            in criminal matters should proactively review available courr decisions where a finding of
            attorney misconduct is made. As necessary, additional, dedicated funding and staff
            should be allocated to undertake this effort.

  JV.       Data Collection and Statistics

         1. The Office of Court Administration and the Grievance Committees should collect,
            aggregate, analyze, and publish statistics regarding attorney misconduct regarding the
            type (e.g., prosecutorial or defense counsel misconduct), nature (e.g .. discovery-related),
            and number of complaints received and reviewed and the resulting determination, if any.

                a. The Grievance Committees should publish annual reports that aggregate data
                   about the number of grievances filed against prosecutors and defense attorneys
                   and the outcomes of those allegations. These reports should provide information
                   about the types of allegations that have been substantiated, and these reports
                   should include recommendations, where appropriate, for new or additional
                   training, supervision. or practices based on the Grievance Committees' review of
                   these matters.

                b. To the extent that they do not already do so. District Attorneys· offices and
                   institutional defense providers should require staff to notify their supervisors
                   whenever they become aware that a Grievance Committee has commenced an
                   investigation about them.

                c. To the extent that they do not already do so. District Attorneys ' offices and
                   institutional defense providers should require staff to notify their supervisors
                   whenever they become aware that a Grjevance Committee bas made a
                   determination following an investigation about them.

  V.        Role of Judiciary in Making Referrals

         1. Judges should receive training on the standards and processes for referring attorneys for
            disciplinary review.




                                                     11
Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 16 of 25 Page ID #:118




         2. Trial and appellate court judges should promptly refer to the appropriate Grievance
            Committee all matters in which a judicial finding of prosccutorial or defense counsel
            misconduct has been made.

  VI.       Training

         1. Prosecutors should receive training. both at the outset of employment and periodically
            throughout their tenure. in criminal law and procedure. ethical obligations. and all areas
            of professional practice. The content of these training programs should be updated as
            needed to reflect recent case law. ethical opinions. new technology and research, as well
            as to address any areas of needed improvement identified by internal supervision. courts.
            or the Grievance Committees. The NYPTI should receive and review any report issued
            by the Grievance Committees and incorporate the rccommcnda1ions into NYPTT's
            various educational programs and statewide bulletins.

        2. Institutional defense provider attorneys should receive training. both a1 the outset of
           employment and periodically throughout their tenure. in criminal law and procedure.
           ethical obligations. and all areas of professional practice. The content of these rraining
           programs should be updated as needed to reflect rece111 case law. ethical opinions. new
           technology and research. as well as to address any areas of needed improvement
           idemified by internal supervision, courts, or the Grievance Commillecs. Solo
           practitioners should be given the opponuniry to receive similar tra.ining through free CLE
           courses.

        3. Prosecutors· offices and instinHional defense pro\'iders should meet with one another on
           a regular basis to discuss issues and concerns regarding the Rules of Professional
           Conduct. best prac1ices on difficult prac1icc points. lessons learned from internal and
           external allegations/investigations. and when referrals should be made. Offices should be
           encouraged to share their internal protocols with one another to fos1er openness and
           transparency.

        4. Grievance Committees should meet periodically with representatives of the local
           prosecution and the defense bar to provide an overview of the types of allegations they
           are receivjng and alert these attorneys to areas of law or praclice where additional trnining
           or supervision is needed.

  Vll.      Order Regarding Disclosure Obligations for Prosecutors

        1. Couns should adopt a form document to be issued by trial couns in criminal cases
           regarding certain disclosure obligations of the prosecuting authority and to provide
           recommended language for that document.

     2. The scope of the document should be explained through reference to three categories of
        information favorable to the defense (exculpa10ry. impeaching and affecting suppression)
        and by citing obligations under Brady v Maryland. 373 US 83 ( 1963 ), Giglio 1· U11i1ed
        Stares, 405 US 150 (I 972). People 1• Geasien, 54 NY2d 510 ( 1981 ), and their progeny
        under United States and New York State constitutions. and obligations under Rule 3.8(b)
        of the New York State Rules of Professional Conduct.
                                                     12
Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 17 of 25 Page ID #:119




      3. The document should be phrased as an order, which should direct the prosecuting
         authority to d isclose all covered materials.

     4. The order should be directed at the District Attorney and the Assistant responsible for the
        case.

      5. The order should not contain any reference to materiality.

      6. The order should explain that disclosure of benefits. promises, or inducements to a
         wimess in connection with the w itness's testimony or other cooperation in the case couJd
           be required.

     7. The order should include speci fie references to certain types of materials or infom1ation
           that could be required to be disclosed, including:

               a. that relevant benefits, promises, or inducements may come from law enforcement
                  officials, law enforcement victims services agencies. or the prosecuror;

               b. prior inconsistent statements and uncharged criminal conduct and convictions;
                  and

              c. a witness 's mental or physical illness or substance abuse.

     8. The order should include that the prosecutor's duty to disclose information that is
        favorable solely because it tends to impeach a witness's credibihty appl ies only with
        respect to a testifying witness.

     9. The order should provide tbat the prosecutor is obligated to timelv disclose information
        in accordance with the U nited States and New York State constitutional srandards. as
        well as CPL article 240. and the order should provide that disclosure is presumptively
        rimely if the prosecmor shall have completed it no later than 30 days before
        commcncemcnl of a trial in a felony case and 15 days before commencement of a trial in
        a misdemeanor case.

      10. The order should provide th.at only willful and deliberate conduct will constitute a
          violation of the order or be eligible for personal sanctions against a prosecutor.

  VIII. O rder Regarding Obligations for Defense Attorneys

     1. Couns should adopt a form document, issued by trial courts in criminal cases. regarding
        the defense counsel's obligation to comply with defendanf s statutory norice obligations
        and to help ensure constiturjonally effective representation and to provide language for
        such a document.

     ..,   The document should be phrased as an order. which should direct the defense counsel to
           comply with defendant's statutory notice obligations and to help ensure constitutionally
           effective representation.


                                                   13
Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 18 of 25 Page ID #:120




     3. The order should be directed to the firm or institutional defender and the individual
        defense counsel. as well as the individual attorney responsible for the case at a finn or
        instinnional defender.

     4. The defendant should be provided with a copy of such order.




                                                 ]4
Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 19 of 25 Page ID #:121




  Appendix B

  Model Order Direczed zo the Prosecution

  At arraignment on an indictment, prosecutor's infonnation, informat ion. or simplified
  information, the court shall issue a written order as described below. "Where either the People or
  counsel for the defendant is not present at the arraignment. the court shall issue the order at the
  next scheduled court date with counsel present. As a condition for issuance of 1.he order. counsel
  for the defendant shall provide the prosecutor with a written demand as specified under CPL
  240.10(1 ) and 240.20. unless the prosecution waives the need for a demand.

  The order shall include the following inforrnaLion:

  The court hereby orders the District Attorney and the Assistant responsible for the case. or, if the
  matter is not being prosecuted by the District Attorney. the prosecuting agency and its assigned
  representative. ro make timely disclosures of information favorable to the defense as required by
  Brady,. Maryland. 373 US 83 (J 963), Giglio ,. U11i1ed Stai es. 405 US 150 ( 1972). People,.
  Geaslen. 54 l\TY2d 510 (1981 ). and their progeny under the United Stares and New York State
  constitutions. and by Ruic 3.8(b) of the New York State Rules of Professional Conduct. as
  described hereafter.

             The District Attorney and the Assistant responsible for the case have a duty to learn
             of such favorable information that is known lO others acting on the government's
             behalf in the case. including the police. and should therefore confer with investigative
             and prosccutorial personnel who acted in this case and review their and their agencies·
             files directly related to the prosecution or investigation of th.is case.

             Favorable information could include. but is nor limfred to:

                 a) lnfonnarion that impeaches the credibi lity of a testifying prosecution wimess.
                    including (i) benefits, promises. or inducements. express or tacit. made to a
                    witness by a law enforcement official or law enforcement victim services
                    agency in connection with giving testimony or cooperating in the case: (ii) a
                    witness ·s prior inconsis1ent statements. written or oral: (iii) a wimess ·s prior
                    convictions and uncharged criminal conduct: (iv) information that rends to
                    show tha1 a wimess has a morive ro lie to inculpate the defendant. or a bias
                    against the defendant or in favor of the complainant or the prosecution; and (v)
                    information that tends to show impairment of a wimess·s ability to perceive,
                    recall. or recount relevant events, including impairment resulting from mental
                    or physical illness or substance abuse.

                 b) lnfom,ation that tends 10 exculpate. reduce the degree of an offense. or
                    support a potentjaJ defense to a charged offense.

                 c) Information that tends to mitigate the degree of the defendant's culpability as
                    to a charged offense. or to mitigate punishment.

                                                  15
Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 20 of 25 Page ID #:122




              d ) Information that tends to undcnninc evidence of the defendant's identity as a
                  perpetrator of a charged crime, such as a non-identification of the defendant
                  by a wimess to a charged crime or an identification or other evidence
                  implicating another person in a manner that tends to cast doubt on the
                  defendant's gui It.

              e) Information that could affect in the defendant's favor the ultimate decision on
                 a suppression motion.

           Favorable information shall be disclosed whether or not it is recorded in tangible
           form, and irrespective of whether the prosecutor credits the information.

          Favorable information must be timely disclosed in accordance with the United States
          and New York State constiturional standards. as well as CPL article 240. Disclosures
          are presumptively "timely'· if they are completed no later than 30 days before
          commencement of trial in a felony case and 15 days before commencement of trial in
          a misdemeanor case. Records of a judgment of conviction or a pending criminal
          acrion ordinarily are discoverable within the time frame provided in CPL 240.44 or
          240.45( I). Disclosures that pertain to a suppression hearing are presumpri vely
          "timely"' if they are made no later than 15 days before the scheduled hearing date.
          The prosecutor is reminded that the obligation to disclose is a continuing one.

          A protective order may be issued for good cause. and CPL 240.50 shall be deemed to
          apply. with respect to disclosures required under this order. The prosecutor may
          request a ruling from the court on the need for disclosure.

          Only willful and deliberate conduct will constitute a violation of this order or be
          eligible to result in personal sanctions against a prosecutor.




                                                16
Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 21 of 25 Page ID #:123




  Appendix C

  Model Order Directed to Defense Counsel (with a copy to criminal defendants)

  At arraignment on an indictment. prosecutor's infonnation, information. or simplified
  infonnarion. the coun shall issue a written order calling attention to certain professional
  obligations of counsel for the defendant during the representation . \\'here the People or counsel
  for the defendant is not present at the arraignment. the coUJ1 shall issue the order at tbe next
  scheduled coun date with counsel present. The order should include the following information:

             Defense counsel has the obligation to:

                 a) Confer with the cliem about the case and keep the client informed about all
                    significant developments in the case:

                 b) Timely communicate to the client any and all guilty plea offers, and provide
                    reasonable advice about the advantages and disadvantages of such guilty plea
                    offers and about the potential sentencing ranges that would apply in the case:

                 c) When applicable based upon the client's immigration status. ensure that the
                    client receives competent advice regarding the immigration consequences in
                    the case as required under Padilla v Kentucf..,"}). 559 US 356 (2010):

                 d) Perform a reasonable investigation of both the facts and the law pertinent to
                    the case (includi11g as applicable, e.g .. visiting the scene. interviewing
                    witnesses. subpoenaing pertinent materials. consulting experts. inspecting
                    exhibits. reviewing all discovery materials obtained from the prosecution.
                    researching legal issues, etc.). or, if appropriate. make a reasonable
                    professional judgment not to investigate a particular matter:

                 e) Comply wi th the requirements of the New York State Rules of Professional
                    Conduct regarding conflicts of interest. and when appropriate. timely noti(v
                    the court of a possible conflict so that an inquiry may be undenaken or a
                    ruling made:

                 t) Possess or acqui:re a reasonable knowledge and familiarity with criminal
                    procedural and evidcmiary law to ensure constirutionally effective
                    representation in the case: and

                g) When the starutory requirements necessary to trigger notice from the defense
                   a re met (e.g .. a demand. intent to introduce the evidence. ere.). comply with
                    the statutory notice obligations for the defense as specified in CPL 250.10.
                    250.20. and 250.30.




                                                  17
Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 22 of 25 Page ID #:124




                         ADMINISTRATIVE ORDER OF THE
                  CHIEF ADMINISTRATIVE JUDGE OF THE COURTS
          Pursuant to rhe authority ,·estcd in me. and upon consultation with and agreement of the
  Administrati ve Board or the Courts. I hcreby amcnd the uniform rules fo r courts exercising
  criminal jurisdiction (22 NYCRR Part 200) by adding sections 200.16 and 200.27 as follows.
  effective January I. 2018:

                                                  ***

  200.16/200.27: Issuance of Order Confirming Disclosure and Notice Obligations

            In all criminal actions on an indictment. prosecutor's in formation. information. or
  simplified infonnation. when: counsel for the defendant has provided the prosecutor with a
  ,uitten demand as specilicd under CPL 2-W. 10( 1) and 240.20. or where the prosecution has
  waived such demand. the court shall issue an order 10 prosecution and defense counsel that. inter
  alia, (I) confi rm::; the prosecutor"s disclosure obligations pursuant to Brady v. Ma,y/and. 373
  U.S. 83 ( 1963). CiiKlio ,.. United S!lt!l!s. 405 U.S. 150 (1972). ?<!ople ,, Cieaslen, 54 N. Y.2d 510
  ( 1981 ), and their progeny: and {1) confi rms defense counsel"s professional obligation to provide
  effective assistance of counsel and meet defendanrs statutory notice obligations. The order shal l
  be issued on the first scheduled court date. following demand, where both the prosecutor and
  defense counsel arc present. The Ch ief Administrator of the Courts sha ll promulgate a model
  order for this purpose that the coun ma) use as it deems appropriate.




  Dated: November 6.201 7
                                                                        AO291/17
Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 23 of 25 Page ID #:125




 ST t\ TE OF >!EW YORK.                               COURT
 COU1'TY OF                                 : CR.I1V1INAL TERM. PART
                  --------
 -----------------------------------------------------------------------x
  PEOPLE OF THE STATE OF NEW YORK.
                                                                            Case No.
                      -against-
                                                                                       ------
                                                                            Order to Counsel in
  - - - - - -- - - - -- - - ' Defendant.                                    Criminal Cases

-----------------------------------------------------------------------x
- - -- - - - - - -- . J.
         The court, pursuant Lo an Administrative.; Order of the Chief Administrative Judge and at the
 recommendation of the New York State Justice Task force and in furtherance of the fair
 administration of justic.:c. issues this order as both a reminder and a directive that counsel uphold
 their constitutional. staruro0 and ethjcal responsibilities in the above-captioned proceedings.
 To the Prosecutor:

         The District Attorney and the Assistant responsible for the case. or. if the maner is not being
 prosecuted by the District Attorney. the prosecuting agency and its assigned representative. is
 directed to make timely disclosures of information favorable to the defense as required by Brady,·
 Mm:1·/and. 373 US 83 ( I 963). Giglio,. United States. 405 US 150 ( 1972). PeoplC' ,. Geaslen. 54
 NY2d SI O( I 98 I). and their progeny under the United States and New York State constitutions. and
 b~ Rule.: 3.8(b) of the e\, York State Rules of Prnfossional Conduct. as dcscribc.:d hereafter.
      · The Disrrict Attorney and the Assistant rc.:sponsible for the case: have a duty ro learn of such
     favorable infonnation that is knovvn 10 others acting on the govemment" s behal r in the case.
     including the polic<.:. and should therefore confer with investigative and prnsccutorial personnel
     who acted in this case and review their and their agencies· files directly related to the
     prosecution or investigation of this case.
      • Favorable infomianon could include. bm is not limited               t0 :

       a) ln fonnation that impeaches the credibilit~· of a tcsrifying prosecurion witness. including (i)
          benefits. promises. or inducements. express or tacit. made to a ,,·itness by a la\\'
          enforcement official or law enforcement victim services agcnc~ in connccuon with giving
          testimony or cooperatmg in the case: (ii) a wi tness·s prior inconsistent statements. written
          or oral: (i ii ) a witness's pnor convictions and uncharged criminal conduct: (iv) information
          that tends to show that a witness has a motive to lie to inculpme the defendant. or a bias
          against the defendant or in favor of the complainant or the prosecution: and (v) infom1ation
          that tends to show impainnent of a witness's ability to perceive. recall. or recount relevant
          events. including impairment resulting from mental or physical illness or substance abuse.
       h) lnfonnation that tends to exculpate. reduce the degree of an offense. or support a potential
          defense to a charged offense.
Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 24 of 25 Page ID #:126




     c) lnfonnation that tends to mitigate the degree of the dcfcndanr's culpability as to a charged
        offense. or to mitigate punishment.
     d) Information that tends to underm i,ne evidence of the defendant's identity as a pcrpeu·ator of
        a charged crime. such as a non-idenrification of the defendant by a witness t0 a charged
        crime or an identification or other evidence implicating another person in a manner that
        tench: to cast doubt on the defendant's guilt.
     e) Information that could affect in the defendant's favor the ultimate decision on a suppression
        motion,
    • r: avorable information shall be d isclosed whether or not it is recorded in tangible:: form. and
   irrespective of whether the prosecutor credits the information.
    • Favorable information must be timely disclosed in accordance with the United States and
   New York State constitutional standards. as well as CPL article 240. Disclosures arc
   presumptively ··rimelr.. if they are completed no later than 30 days before commencement of
   trial tn a felon> case and 15 days before commencement of trial in a misdemeanor case. Records
   of a judgment of conviction or a pending criminal action ordinaril y are discoverable within the
   tim<: fram<.: provided in CPL 240.44 or 240.45( I). Disclosures that pertain to a suppression
   bearing are presumptivel>' ··timely·· if the>' are made no later than 15 days before the scheduled
   hearing date. The prosecuror is reminded that the obli gation to disclose is a continuing one.
   Prosecutors should strive to determine if favorable infom1ation exists. Nothing herein shall be
   understood ro diminish a prosecutor·s obligation to disclose excul patory infonnation as soon as
   n.:asonahly possible.
    •A  protective order may be issued for good cause, and CP[~ 240.50 shall be deemed rn apply.
   with respect to disclosures required under this order. The prosecutor may request a ruling fTom
   the court on the need for disclosure,
    • Oni~' willful and deliberate conduct will consti tu1 e a violation of this order or be eligible to
   result in personal sanctions against a prosecutor.
To Defense Counsel:
        Dcfcns<.: counsel. having filed a notice of appearance in the above captioned case. is
obligated under both the 't\ew York State and the United States Constitution to provide effective
n.:prcscntation of defendant. Although the following list is nm meant to be exhaustive. counsel shall
remain cognizant of the obligation to:
   a) Confer with the client about the case and keep the cl ient inforn,cd about all significant
   developments in the case:
   b) Timely communicate to the client any and all gui lry plea offers. and provide reasonable
   advice about the advantages and disadvantages or such guilty pica offers and about the potential
   scnrcncing ranges that would apply in the case:
Case 2:18-cv-01490-SVW-SK Document 1-3 Filed 02/22/18 Page 25 of 25 Page ID #:127




   c) When applicable based upon the client's immigration status. ensure that the cl ie111 receives
   competent advice regarding the immigrntion consequences in the case as required under Padilla
   ,, Kentucky. 55() US 356 (20 I 0):
   d) Perform a reasonable investigarion of both the fac1s and the la\\' pcninent to the case
   (including as applicable. e .g .. visiting the scene. imcrviewing witnesses. subpoenaing pertinent
   materials. consulting experts. insrecting exhibits. reviewing all discovery materials obtained
   from the prosecution. researching legal issues. etc.), or. if appropriate. make a reasonable
   professional judgment not to investigate a particular matter:

   e) Comp!:, with the requirements of the . ew York State Rules of Professional Conduct
   regarding conn1c1s of interest. and when appropriate. timely noti(\' the court of a possible
   conflict so that an inquiry ma:, be undertaken or a ruling made:
   f) Possess or acquire a reasonable knowledge and familiarity with criminal procedural and
   cvidemiary bw   Lo   ensure constituti onally effecti ve representation in the case: and
   g) When the s1atutory requirements necessary to trigger notice from lilt' defense are met (e.g.. a
   demand. intent to introduce the evidence. ere.). comply with the staru1or~· notice obligations for
   the defcnst: ns specified in CPL 250.10. 250.20. and 250JO.

So ordered.


                                                                       Judge or .Justice
Dated:
